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 1   COOLEY LLP
     BOBBY GHAJAR (198719)
 2   (bghajar@cooley.com)
     TERESA MICHAUD (296329)
 3   (tmichaud@cooley.com)
     COLETTE GHAZARIAN (322235)
 4   (cghazarian@cooley.com)
     1333 2nd Street, Suite 400
 5   Santa Monica, California 90401
     Telephone:    (310) 883-6400
 6
     COOLEY LLP
 7   MARK WEINSTEIN (193043)
     (mweinstein@cooley.com)
 8   KATHLEEN HARTNETT (314267)
     (khartnett@cooley.com)
 9   JUDD LAUTER (290945)
     (jlauter@cooley.com)
10   ELIZABETH L. STAMESHKIN (260865)
     (lstameshkin@cooley.com)
11   3175 Hanover Street
     Palo Alto, CA 94304-1130
12   Telephone:    (650) 843-5000
13   CLEARY GOTTLIEB STEEN & HAMILTON LLP
     ANGELA L. DUNNING (212047)
14   (adunning@cgsh.com)
     1841 Page Mill Road, Suite 250
15   Palo Alto, CA 94304
     Telephone:    (650) 815-4131
16
     [Full Listing on Signature Page]
17   Counsel for Defendant Meta Platforms, Inc.
18
                                UNITED STATES DISTRICT COURT
19

20                           NORTHERN DISTRICT OF CALIFORNIA

21                                   SAN FRANCISCO DIVISION

22   RICHARD KADREY, et al.,                         Case No. 3:23-cv-03417-VC-TSH

23      Individual and Representative Plaintiffs,    DECLARATION OF MICHELLE WOODHOUSE
                                                     IN SUPPORT OF PLAINTIFFS’
24          v.                                       ADMINISTRATIVE MOTION TO CONSIDER
                                                     WHETHER ANOTHER PARTY’S MATERIAL
25   META PLATFORMS, INC., a Delaware                SHOULD BE SEALED (DKT. 260)
     corporation;
26
                                     Defendant.
27

28

                                                             WOODHOUSE DECL. ISO MOTION TO SEAL
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 1          I, Michelle Woodhouse, hereby declare:
 2          1.       I am an Associate General Counsel for Defendant, Meta Platforms, Inc. (“Meta”). I
 3   have personal knowledge of the facts set forth in this Declaration and, if called to testify as a
 4   witness, could and would testify competently thereto.
 5          2.       Pursuant to Local Rule 79-5(f)(3), I make this Declaration in support of Plaintiffs’
 6   Administrative Motion (the “Motion”) to Consider Whether Another Party’s Material Should Be
 7   Sealed (Dkt. 260). The Motion seeks leave to file under seal portions of Plaintiffs’ Letter Brief
 8   Regarding Meta’s Amended Privilege Logs (the “Letter Brief”) (Dkt. 269 (replacing Dkt. 262)).
 9   The Motion also seeks leave to have exhibits to the Declaration of Maxwell V. Pritt (“Pritt
10   Declaration”) in Support of Plaintiffs’ Letter Brief partially or entirely sealed. The materials for
11   which the Motion seeks leave to file under seal are set forth in the table below, alongside the relief
12   requested for each:
13
      Document                                         Sealing Request
14

15    Letter Brief                                             Redacted materials in Dkt. 269

16    Exhibit A to Pritt Declaration                           Redacted portions in Exhibit 1, attached
                                                                to this Declaration
17
      Exhibit B to Pritt Declaration                           Redacted portions in Exhibit 2, attached
18                                                              to this Declaration
19    Exhibit C to Pritt Declaration                           Entire document
20    Exhibit D to Pritt Declaration                           Entire document
21    Exhibit E to Pritt Declaration                           Entire document
22    Exhibit F to Pritt Declaration                           Entire document
23    Exhibit H to Pritt Declaration                           Entire document
24    Exhibit I to Pritt Declaration                           Entire document
25    Exhibit J to Pritt Declaration                           Entire document
26
      Exhibit K to Pritt Declaration                           Entire document
27
      Exhibit L to Pritt Declaration                           Entire document
28

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 1
      Exhibit M to Pritt Declaration                          Entire document
 2
      Exhibit N to Pritt Declaration                          Entire document
 3
      Exhibit O to Pritt Declaration                          Entire document
 4
      Exhibit P to Pritt Declaration                          Entire document
 5
      Exhibit Q to Pritt Declaration                          Entire document
 6
      Exhibit R to Pritt Declaration                          Entire document
 7
      Exhibit S to Pritt Declaration                          Entire document
 8
      Exhibit T to Pritt Declaration                          Entire document
 9
      Exhibit U to Pritt Declaration                          Entire document
10
            3.      The Letter Brief contains significant discussion and descriptions of Meta’s
11
     documents and communications relating to AI development, including quotes from these materials.
12
     These materials contain Meta’s highly sensitive information, including business strategies and
13
     technical information regarding the development of Meta’s AI models, as well as internal
14
     discussions concerning this information. Maintaining the confidentiality of this information is
15
     critical to Meta’s business and Meta treats this information as highly confidential, trade secret.
16
     Public disclosure of the information in these documents exposes Meta to the risk of competitive
17
     harm. The redactions in Dkt. 269 comprise narrowly tailored portions reflecting Meta confidential
18
     information sought to be sealed.
19
            4.      Exhibit A to Pritt Declaration is a letter from Plaintiffs’ counsel in this action
20
     regarding Meta’s privilege log, which contains significant discussion and descriptions of Meta’s
21
     highly confidential internal communications. Public disclosure of the letter exposes Meta to the
22
     risk of competitive harm. While the Motion, relying on Meta’s confidential information, sought to
23
     have the entirety of Exhibit A sealed, Meta does not consider all of the information in the letter to
24
     be confidential. Attached as Exhibit 1 to this Declaration is a newly redacted version of Exhibit
25
     A to Pritt Declaration, with narrowly tailored redactions applied to Meta confidential information.
26
            5.      Exhibit B to Pritt Declaration is a letter from Plaintiffs’ counsel in this action
27
     regarding Meta’s privilege log, which contains significant discussion and descriptions of Meta’s
28

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 1   highly confidential internal communications. Public disclosure of the letter exposes Meta to the
 2   risk of competitive harm. While the Motion, relying on Meta’s confidential information, sought to
 3   have the entirety of Exhibit B sealed, Meta does not consider all of the information in the letter to
 4   be confidential. Attached as Exhibit 2 to this Declaration is a newly redacted version of Exhibit
 5   B to Pritt Declaration, with narrowly tailored redactions applied to Meta confidential information.
 6           6.     Exhibit C to Pritt Declaration is a letter from Meta’s counsel in this action
 7   regarding Meta’s privilege log, which contains significant discussion and descriptions of Meta’s
 8   highly confidential internal communications. Public disclosure of the letter exposes Meta to the
 9   risk of competitive harm.
10           7.     Exhibit D to Pritt Declaration is the deposition transcript of Melanie Kambadur,
11   dated September 17, 2024. The deposition of Ms. Kambadur was designated as highly confidential,
12   pursuant to the Protective Order (Dkt. 90). The deposition transcript of Ms. Kambadur contains
13   references to Meta’s highly sensitive business strategies and technical information regarding the
14   development of Meta’s AI models. Maintaining the confidentiality of this information is critical to
15   Meta’s business and Meta treats this information as highly confidential, trade secret. Public
16   disclosure of the information in this deposition transcript exposes Meta to the risk of competitive
17   harm.
18           8.     Exhibit E to Pritt Declaration is Meta’s Amended Non-Email Privilege Log,
19   which contains significant discussion and descriptions of Meta’s highly confidential internal
20   communications. Public disclosure of this document exposes Meta to the risk of competitive harm.
21           9.     Exhibit F to Pritt Declaration is Meta’s Amended Email Privilege Log, which
22   contains significant discussion and descriptions of Meta’s highly confidential internal
23   communications. Public disclosure of this document exposes Meta to the risk of competitive harm.
24           10.    Exhibits H, I, J, K, L, M, N, O, P, Q, R, S, T, and U to Pritt Declaration comprise
25   internal Meta documents and communications relating to AI development. These materials include
26   highly sensitive information regarding Meta’s AI business strategies, and the technical
27   development and components of Meta’s AI models and include internal discussion of this
28   information. Maintaining the confidentiality of this information is critical to Meta’s business and

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 1   Meta treats this information as highly confidential, trade secret.         Public disclosure of the
 2   information in these documents exposes Meta to the risk of competitive harm. These materials are
 3   designated highly confidential, pursuant to the Protective Order (Dkt. 90.)
 4          11.     Public disclosure of the information contained in the above-referenced Letter Brief
 5   and exhibits exposes Meta to the risk of competitive and financial harm by revealing Meta’s non-
 6   public trade secret information and technical data pertaining to its generative AI offerings. For this
 7   reason, Meta takes steps to carefully protect the confidentiality of this sort of information.
 8   //
 9   //
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